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IN THE UNITED STATES DISTRICT COURT MARL 7 2020
FOR THE DISTRICT OF MARYLAND —

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DEPUTY
IN THE MATTER OF A SEARCH CASENO.9 9 gp 74
WARRANT AUTHORIZING THE SEARCH 20-06 64 ADC

OF THE SUBJECT ELECTRONIC DEVICE

 

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT AUTHORIZING
THE SEARCH OF THE SUBJECT ELECTRONIC DEVICE

I, Peter Hanlon, a Detective with the Baltimore County Police Department and a Task
Force Officer (TFO) with the Federal Bureau of Investigation (FBI) being duly sworn, states:

1. This affidavit is being submitted in support of an application authorizing the search
and seizure of information associated with the following cellular phone (the “Subject Electronic
Device”): a Black and Gold LG model SP200 phone, associated with Baltimore County Property
Number 5390-011, taken during a search of Donte DINGLE’s apartment located at 5229 St.
Charles Ave, with Serial Number 712C YNL0024519. See Attachment A. The Subject Electronic
Device is currently in the custody of the Federal Bureau of Investigation. The Subject Electronic
Device remains in the same or substantially same condition as when it was first seized by law
enforcement officers. The Subject Electronic Device is believed to contain and conceal items
that constitute evidence of violations of 18 U.S.C. § 1951, Hobbs Act Robbery.

2. The applied for warrant would authorize the forensic examination of the Subject
Electronic Device for the purpose of identifying electronically stored data particularly described
in Attachment B and using the protocols described in Attachment B by members of the FBI, or
their authorized representatives, including but not limited to other law enforcement agents assisting

in the above described investigation.
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AFFIANT BACKGROUND

3. | Jamasworn Task Force Officer (TFO) currently assigned to the Federal Bureau of
Investigation (FBI) Violent Crime Task Force. I have been assigned FBI Violent Crime Task Force
since October 2011. I have been a member of the Baltimore County Police Department since
April, 1988. Upon graduating from the Police Academy, I was assigned to the uniformed patrol.
In October 1994, I was assigned to the Towson Precinct’s Investigative Services Unit and in June
1995 transferred to the Precinct’s Community Drug and Violence Interdiction Team. Since July
1996, I have been assigned to the Criminal Investigation Bureau, Crimes Against Person Section,
Robbery Unit. As an FBI Task Force Officer, I am currently responsible for investigating violent
crimes, to include robberies of financial institutions, Hobbs Act robberies, kidnappings and other
violent crimes. I have been assigned to the FBI Violent Crime Task Force since October 2011.

4, As a Task Force Officer of the FBI, Tam authorized to investigate violations of
laws of the United States and as a law enforcement officer with the authority to affect arrests and
execute warrants issued under the authority of the United States.

5, Through training as well as interviews and interrogations of hundreds of persons
arrested for the above offenses, I am familiar with the actions, traits, and habits of persons who
have committed these offenses specifically in the area of robbery. The facts in this Affidavit come
from my personal observations, my training and experience, and information obtained from other
agents and police officers, witnesses, police records, and reports.

6. Based on my: knowledge, training, and experience, I know that individuals involved
_ with Hobbs Act robbery frequently use cellular telephones, communication devices, and other
electronic media storage to further their illegal activities. More specifically, based upon my

knowledge, training, and experience, and participation in this and other Hobbs Act robbery
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investigations, I know the following:

a. The fruits and instrumentalities of criminal activity are often concealed in
digital form. Furthermore, digital camera technology is often used to capture images of
tools and instrumentalities of pending criminal activity. Cell phones have both digital
storage capacity and digital camera capabilities.

b. Individuals involved in Hobbs Act robbery often use digital storage devices
to maintain telephone number “contact lists” of individuals who may have assisted in the
planning of this and other criminal activity and sometimes take photographs of themselves
and/or co-conspirators.

c. Individuals who possess or own handguns or other weapons frequently
photograph themselves holding the handguns or other weapons.

d. Photographs on a suspect’s digital device sometimes show the suspects
handling proceeds or other property taken during robberies.

e. Individuals who engage in Hobbs Act robbery often use cellular telephones
to communicate with co-conspirators via phone calls and text messages. |

f. Cell phones often record the phone’s historical location data.

7. Because this affidavit is being submitted for the limited purpose of establishing
probable cause for a search and seizure warrant, I have not included every detail of every aspect
of the investigation. Rather, I have set forth only those facts that I believe are necessary to establish
probable cause. I have not, however, excluded any information known to me that would defeat a
determination of probable cause. The facts in this affidavit come from my personal observations,

my training and experience, and information obtained from other agents, police officers, witnesses,

 
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cooperating sources, telephone records, and reports. This affidavit is intended to show merely that _
there is sufficient probable cause for the requested warrant and does not set forth all of my
knowledge about this matter.
PROBABLE CAUSE

8. With the assistance of the Baltimore Police Department, the Baltimore County
Police Department, and the Anne Arundel County Police Department, the FBI is currently
investigating a trend of armed Hobbs Act robberies that have occurred throughout Baltimore City,
Baltimore County, and Anne Arundel County. The investigation encompasses robberies of the

following stores, among others: |

e 6/06/2018 Ridgeway Liquors 608 Edmondson Avenue
e 6/21/2018 Euro Liquors 10512 Reisterstown Road
e 7/05/2018 5th Avenue Liquors 508 Crain Highway
e 7/12/2018 One-Stop Liquors 11700-Reisterstown Road
9. Although some of the robberies involved multiple armed suspects, the primary

suspect was as a black male, approximately 6°00”, 200 pounds. During the robberies, he was
armed with a silver handgun and typically forced the employees to the rear of the store at the
conclusion of the robberies.

10. The suspect typically wore a disguise consisting of a costume, wigs, and glasses,
as shown in the images below. For example, on June 21, 2018, during the robbery of Euro Liquors,
the suspect was wearing a brown wig, wire framed glasses, a police costume shirt with the word
“COP” written in white lettering on the front upper left portion of the shirt, a fake mustache, a
white bandage on his right forearm (believed to hide a tattoo(s)), black pants, and black shoes. On
July 5, 2018, during the robbery of Sth Avenue Liquors, the suspect was wearing a wig, beard, red

baseball hat, sunglasses, and a blue work shirt with stripes displaying the name “Michael” across

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the chest. On July 12, 2018, during the robbery of One-Stop Liquor Store, the suspect was wearing
a dark colored fishing style hat, a green reflective construction jacket, an eye patch, a fake
mustache, black pants, and black shoes.

11. While investigating the armed robbery of the One-Stop Liquor Store, investigators
learned the suspect brought a bag of Dorito chips to the counter prior to the robbery, and then left
the bag on the counter. The bag was processed for latent fingerprints. A latent fingerprint was
recovered and submitted to the Baltimore County Police Department’s Forensic Services Division-
Latent Fingerprint Unit for analysis. The latent fingerprint was positively identified to be the left
thumb of Donte Lamont DINGLE.

12. After the recovery of the latent fingerprint from the Doritos bag, investigators
conducted surveillance on DINGLE. During the surveillance detail, investigators observed
DINGLE entering and exiting 5229 Saint Charles Avenue, Baltimore, Maryland 21215. Police
then obtained a warrant to search 5229 Saint Charles Avenue, which was executed during the
morning of July 20, 2018.

13. After entering the location at 5229 Saint Charles Avenue, DINGLE’s residence,
law enforcement spoke with Donna Michelle Roundtree, who confirmed that “Donte” lived at
5229 Saint Charles Avenue in the upstairs middle bedroom.

14. A search of DINGLE’s bedroom revealed numerous articles of clothing, wigs,
glasses, and other disguises, several of which matched items worn by the suspect during the
robberies. For example, the following images display the items worn by the suspect during the
Euro Liquors and 5th Avenue Liquors, respectively, next to the items seized from DINGLE’s

bedroom: \

 
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Euro Liquors

 

Sth Avenue Liquors

ES NTE
Semen Wattaw
$229 Si CHARS Aye

 

15. In addition, law enforcement recovered from DINGLE’s bedroom ammunition and
a silver Bryco Arms Model T380 .380 caliber pistol, which appears to match the pistol brandished
by the suspect during the robberies. Law enforcement also recovered $2,159.54 in U.S. currency.

16. Besides the firearm and the clothing, law enforcement recovered the Subject
Electronic Device from DINGLE’s bedroom.

17. Dingle was eventually indicted federally for committing the four robberies listed
above in pargraph 8. See United States v. Dingle, Criminal No. DKC-19-0204.

18. Given the facts set forth above, | have probable cause to believe that DINGLE has

committed violations of 18 U.S.C. § 1951, Hobbs Act Robbery. As such, I respectfully request
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that this Court find probable cause that evidence of the aforementioned criminal violations is
contained in the Subject Electronic Device.
THE SUBJECT ELECTRONIC DEVICE

19. As mentioned above, the Subject Electronic Device came into law enforcement’s
possession as a result of the execution of search warrant on July 20, 2018, and is currently in the
lawful possession of the FBI.

20. On January 15, 2019, the Hon. Stephanie A. Gallagher authorized a search and
seizure warrant for the Subject Electronic Device. See Case No. SAG-19-0157. The FBI
attempted to execute that warrant within 14 days using a specific forensic extraction device. Due
to the security protection on the Subject Electronic Device, however, the search was unsuccessful.
Law enforcement now believes that duc to the advancements in technology, and through the use
of more sophisticated extraction devices, it will be able to conduct a successful search of the
Subject Electronic Device.

21. The Subject Electronic Device has been stored in a manner in which its contents
are, to the extent material to this investigation, in substantially the same state as they were when
the Subject Electronic Device first came into the possession of law enforcement.

22,  Jsubmit there is probable cause that DINGLE participated in a string of Hobbs Act
. Robberies, in violation of Title 18 U.S.C. § 1951, and that, based on my training, knowledge and
experience, evidence of this crime is contained within the Subject Electronic Device.

23. ° Known specifics of the Subject Electronic Device requested for authorization to
search are described in Attachment A, and the types of information expected to be recovered from

the device are described in Attachment B.

 

 
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24. To the extent that the warrant authorizes the seizure of any tangible property, any
wire or electronic communication (as defined in 18 U.S.C. § 2510), or any stored wire or electronic
information, there is reasonable necessity for the seizure for the reasons set forth above.

25. Because this warrant seeks only permission to examine a device already in law
enforcement’s possession, the execution of this warrant does not involve the physical intrusion
onto a premises. Consequently, | submit there is reasonable cause for the Court to authorize
execution of the warrant at any time in the day or night.

CONCLUSION

WHEREFORE, I respectfully request that the Court issue a warrant authorizing members
of the FBI, or their authorized representatives, including but not limited to other law enforcement
agents assisting in the above described investigation, to seize and search the Subject Electronic
Device, as described in Attachment A, for the purpose of identifying electronically stored data

particularly described in Attachment B and using the protocols described in Attachment B.

Del. TE 43554

Peter Hanlon
Task Force Officer, FBI

 

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Swom to before me this 4’_ day of March 2020

ADDS —

The Honorablé.A. David Copperthite
United States Magistrate Judge

 
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ATTACHMENT A
PROPERTY TO BE SEARCHED
' The property to be searched, currently in the custody of the Baltimore County Police
Department, is the following Subject Electronic Device seized on July 20, 2018: a Black and
Gold LG model SP200 phone, associated with Baltimore County Property Number 5390-011,

taken during a search of Donte DINGLE’s apartment located at 5229 St. Charles Ave, with Serial

Number 712C YNL0024519
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ATTACHMENT B

ITEMS TO BE SEIZED

All records contained in the items described in Attachment A which constitute evidence
of violations of 18 U.S.C. § 1951, as outlined below:

1. Any and all records related to the location of the user(s) of the device.

2. All of the following:

a.

b.

digital images;

digital videos;

records of incoming and outgoing voice communications;
records of incoming and outgoing text messages;

the content of incoming and outgoing text messages;
voicemails;

voice recordings;

contact lists;

location data;

evidence of who used, owned, or controlled the devices at the time the things
described in this warrant were created, edited, or deleted, such as logs, registry
entries, configuration files, saved usernames and passwords, documents, browsing
history, user profiles, email, email contacts, “chat,” instant messaging logs,
photographs, and correspondence;

evidence of software that would allow others to control the device, such as viruses,
Trojan horses, and other forms of malicious software, as well as evidence of the
presence or absence of security software designed to detect malicious software;

evidence of the lack of such malicious software;

evidence of the attachment to the device of other storage devices or similar
containers for electronic evidence;

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n, evidence of counter forensic programs (and associated data) that are designed to
eliminate data from the devices;

o. evidence of the times the devices were used:

p. passwords, encryption keys, and other access devices that may be necessary to
access the devices;

g. documentation and manuals that may be necessary to access the Device or to .
conduct a forensic examination of the Device; and

r. contextual information necessary to understand the evidence described in this
attachment. .

3. With respect to the search of any of the items described above which are stored in the form
of magnetic or electronic coding on computer media or on media capable of being read by
a computer with the aid of computer-related equipment (including CDs, DVDs, thumb
drives, flash drives, hard disk drives, or removable digital storage media, software or
memory in any form), the search procedure may include the following techniques (the
following is a non-exclusive list, and the government may use other procedures that, like
those listed below, minimize the review of information not within the list of items to be
seized as set forth herein, while permitting government examination of all the data

necessary to determine whether that data falls within the items to be seized):

a. surveying various file “directories” and the individual files they contain
(analogous to looking at the outside ofa file cabinet for markings it contains
and opening a drawer believed to contain pertinent files);

b. “opening” or cursorily reading the first few “pages” of such files in order to
determine their precise contents;

c. “scanning” storage areas to discover and possible recover recently deleted
files;
d. “scanning” storage areas for deliberately hidden files; or

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€. performing key word searches or other search and retrieval searches through
‘all electronic storage areas to determine whether occurrences of language
contained in such storage areas exist that are intimately related to the subject
matter of the investigation.

4. If after performing these procedures, the directories, files or storage areas do not reveal
evidence of the specified criminal activity, the further search of that particular directory,

file or storage area, shall cease.

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